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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                 STATESBORO DIVISION

UNITED STATES OF AMERICA                       )      CASE NO:        6:24-CR-15
                                               )
v.                                             )
                                               )
STEPHANIE RANGEL VAZQUEZ                       )

                                    JOINT STATUS REPORT

I.       Date of Status Report Conference: January 21, 2025
II.      Conference Attendees:

                        Name                                         Role
          Ryan E. Bondura                           Assistant United States Attorney
          Troy W. Marsh, Jr.                        Defense Counsel

III.     Pretrial Motions.

☒        All pretrial motions have been satisfied or otherwise resolved.

☐        The parties have not resolved the following pretrial motions(s) and will require a ruling
         from the Court to settle the actual controversy or dispute:

                                                                                       Evidentiary
                                                                Oral Argument
       Motion Title and Docket Number              Opposed                              Hearing
                                                                  Requested
                                                                                       Requested
                                                    Y/N               Y/N                 Y/N
                                                    Y/N               Y/N                 Y/N
                                                    Y/N               Y/N                 Y/N


         This 21st day January 2025.



                                               Ryan E. Bondura
                                               Assistant United States Attorney


                                               Troy W. Marsh, Jr.
                                               Defense Counsel
